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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG              §                   MDL No. 2179
“DEEPWATER HORIZON” in the                   §
GULF OF MEXICO,                              §                   SECTION: J
on APRIL 20, 2010                            §
                                             §                JUDGE BARBIER
            Applies to:                      §
                                             §            MAG. JUDGE SHUSHAN
                            All cases        §
and No. 10-2771, No. 10-4536, No. 11-        §
1054, and No. 11-1986
________________________________

   PROPOSED ORDER GRANTING HALLIBURTON ENERGY SERVICES, INC.'S
                MOTION FOR SUMMARY JUDGMENT
                   REGARDING INDEMNITY ISSUES

       This Court has considered Halliburton Energy Services, Inc.'s ("HESI") Motion for

Summary Judgment Regarding Indemnity Issues, as well as any timely filed responses and

replies relating to the Motion. The Court is of the opinion that HESI's Motion for Summary

Judgment should be GRANTED. It is, therefore,

       ORDERED that HESI's Motion for Summary Judgment Regarding Indemnity Issues is

GRANTED. The Court determines that there are no genuine issues of material fact, and that

HESI is entitled to judgment in its favor that:

       1.      HESI is entitled to full and complete indemnity, including payment of defense

costs, from BP for claims related to the Deepwater Horizon Incident; and

       2.      BP's contribution claims against HESI arising out of the Deepwater Horizon

Incident and BP's request for declaratory relief seeking absolution from its indemnity obligations

to HESI are hereby DENIED.




HALLIBURTON ENERGY SERVICES, INC.'S PROPOSED ORDER
GRANTING SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-17 Filed 11/30/11 Page 2 of 2




       IT IS SO ORDERED

       Dated this _______ day of _________________, 2011.


                                        Carl J. Barbier




HALLIBURTON ENERGY SERVICES, INC.'S PROPOSED ORDER
GRANTING SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
1803994 v1-24010/0002 PLEADINGS
